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                Exhibit 14
             Case 1:15-cv-05345-AJN-KHP Document 657-1 Filed 05/10/18 Page 2 of 3




From:                               Daniel Boyle <DBoyle@BSFLLP.com>
Sent:                               Wednesday, February 22, 2017 4:17 PM
To:                                 Hassid, Alex
Cc:                                 Matthew L. Schwartz; Peter Skinner; Daniel Boyle
Subject:                            RE: Triadou 30(b)(6) Deposition


Alex-

My apologies for missing your call. Following up on some open points from our discussion last week:

    •   Regarding the deposition of Triadou’s Rule 30 (b)(6) witness, Mr. Cerrito:
            o We confirm that March 9th In New York City is acceptable for a date, with possible extension into March
                 10th if needed due to translation. The deposition will be at our New York office, at 575 Lexington
                 Avenue.
            o We agree to using a joint translator. We typically use Magna for translations, which I believe you said
                 was an option for you was well, but please let me know.
            o For costs, on the agreement that Triadou is willing to pay the same for our witnesses who need to travel
                 to depositions, we agree with the general proposal of business class travel and 3-4 nights hotel fare as
                 needed. Please confirm that is acceptable to your client.
    •   Regarding the deposition subpoena of Mr. Bourg:
            o To be clear, we do not regard Mr. Bourg as within our control in any way. That said, we are reaching out
                 to Mr. Bourg’s representatives to inquire whether he will voluntarily appear for a deposition. We have
                 not yet received a response, but will let you know once we do.
    •   Regarding the document subpoenas of Syracuse Center, LLC, Argon Holding, Corp, and SDG-US, Corp:
            o We are willing to temporarily hold these subpoenas in abeyance pending Triadou’s production of
                 documents responsive to these subpoenas. Upon receipt of those productions, assuming they are
                 complete, we are happy to discuss withdrawing the subpoenas to the subsidiaries with the proviso that
                 if we are going to treat these subsidiaries as indistinct for the purposes of document production (and
                 thus withdraw them), we will need a stipulation saying that these subsidiaries have been treated as
                 indistinct in Triadou’s course of business (for example, with respect to record-keeping and governance).
    •   We have reached out to our clients for the purposed of scheduling 30(b)(6) depositions of Almaty and BTA, as
        well as depositions of other individuals identified in our initial disclosures. Considering the cost of bringing all of
        these witnesses to New York, which would be borne by Triadou according to the agreement above, one
        alternative would be to arrange a slate of depositions in Kazakhstan. We would work to arrange these
        depositions in one trip if that option is preferable. It would be helpful to know which individual witnesses you
        are contemplating depositions for, so we can confirm their availability with our clients.



From: Hassid, Alex [mailto:AHassid@blankrome.com]
Sent: Wednesday, February 22, 2017 4:03 PM
To: Daniel Boyle
Subject: Triadou 30(b)(6) Deposition

Dan,

I know you indicated when we spoke on Friday last week that you would get back to me around today with answers to
the several issues we discussed, including your team’s view of “reasonable travel costs” associated with the deposition.
I’m given to understand that the price of flights to New York from Switzerland for those dates are increasing rapidly, so
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we’d like to get them booked as soon as possible. Please let me know today where you stand on the reasonable costs
issue (and apologies for pushing on this, but ultimately, we’re trying to save your client money).

Best,
Alex

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